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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

    ASSOCIATION OF NEW JERSEY
    RIFLE & PISTOL CLUBS, INC., et
    al.,
                 Plaintiffs,                  HON. PETER G. SHERIDAN
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       3:18-cv-10507
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.

    MARK CHEESEMAN, et al.,
                 Plaintiffs,                    HON. RENEE M. BUMB
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       1:22-cv-04360
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.

    BLAKE ELLMAN et al.,
                 Plaintiffs,                  HON. PETER G. SHERIDAN
    v.
                                                    Civil Action No.
    MATTHEW J. PLATKIN, in his                       3:22-cv-04397
    official capacity as Acting Attorney
    General of New Jersey, et al.,
                 Defendants.


         [PROPOSED] ORDER GRANTING ADMISSION PRO HAC VICE
               OF AARON R. MARCU AND JENNIFER LOEB

         This matter having been brought before the Court on the application of

   Paul J. Fishman of Arnold & Porter Kaye Scholer LLP, attorney for proposed

   amici curiae Giffords Law Center to Prevent Gun Violence, Brady Center to
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   Prevent Gun Violence, and March for Our Lives, for the pro hac vice admission

   of Aaron R. Marcu and Jennifer Loeb; and the Court having considered the

   submissions in support of the application, which comply with Local Civil Rule

   101.1(c)(1); and for good cause shown, the application for Aaron R. Marcu’s and

   Jennifer Loeb’s admission pro hac vice is GRANTED.

         IT IS ORDERED that Mr. Marcu and Ms. Loeb shall abide by all rules of

   this Court, including all disciplinary rules, and shall notify the Court immediately

   of any matter affecting their standing at the bar of any court;

         IT IS FURTHER ORDERED that Mr. Marcu and Ms. Loeb are deemed to

   consent to the appointment of the Clerk of the Court as the agent upon whom

   service of process may be made for all actions against them that may arise from

   their participation in this matter;

         IT IS FURTHER ORDERED that Paul J. Fishman shall (a) be attorney of

   record in this case in accordance with Local Civil Rule 101.1(c); (b) be served

   with all papers in this action and such service shall be deemed sufficient service

   upon counsel; (c) sign all pleadings, briefs, and other papers submitted to this

   Court; (d) appear at all proceedings; and (e) be responsible for the conduct of the

   cause and counsel in this matter;

         IT IS FURTHER ORDERED that Mr. Marcu and Ms. Loeb shall make

   payments to the New Jersey Lawyer’s Fund for Client Protection, pursuant to N.J.

   Court Rule 1:28-2, for each year in which they represent proposed amici curiae

   or any other party in this matter;

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         IT IS FURTHER ORDERED that Mr. Marcu and Ms. Loeb shall pay

   $150.00 to the Clerk of this Court for admission pro hac vice in accordance with

   Local Civil Rule 101.1(c)(3); and

         IT IS FURTHER ORDERED that all terms of the Orders entered in this

   case, including all deadlines, shall remain in full force and effect and no delay in

   discovery, motions, trial, or any other proceedings shall occur because of Mr.

   Marcu’s and Ms. Loeb’s participation or their inability to attend any proceedings.




    Dated: ___________
                                                   __________              ____
                                                  HON. PETER G. SHERIDAN
                                                  United States District Court
                                                  District of New Jersey




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